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 1                                                               Hon. Robert S. Lasnik
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 6
                          UNITED STATES DISTRICT COURT
 7                       WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,                  NO. 2:20-cv-00085-RSL

10                       Plaintiff,
            v.                                  Stipulated Motion and Order to
11                                              Extend Stay

12   SHAUNA SNYDER aka                          Note on Motion Calendar:
     SHAUNA SNYDER-MONROE,                      September 18, 2020
13
                         Defendant.
14
15         Plaintiff United States of America and Defendant Shauna Snyder (Ms.
16   Snyder) stipulate and jointly move under Local Civil Rule 10(g) to extend the
17
     current stay of this student loan collection action through December 31,
18
     2020. The Court has previously stayed this case through September 30,
19
20   2020. Dkt. no. 9. Due to the COVID-19 pandemic’s ongoing economic effects,

21   the U.S. Department of Education has extended its suspension of certain
22   student loan debt collection activities through December 31, 2020. See
23
     https://studentaid.gov/announcements-events/coronavirus (last visited Sep.
24
     17, 2020). The Department of Justice has likewise extended its suspension of
25
26   certain collection actions for defaulted student loans through December 31,

27
28


                                                                   UNITED STATES ATTORNEY’S OFFICE
     STIPULATED MOTION AND [PROPOSED] ORDER TO EXTEND STAY - 1      700 STEWART STREET, SUITE 5220
     United States v. Snyder, No. 2:20-cv-00085-RSL                        SEATTLE, WA 98101
                                                                           PHONE: 206-553-7970
            Case 2:20-cv-00085-RSL Document 11 Filed 09/21/20 Page 2 of 2



 1   2020. See https://www.justice.gov/jmd/page/file/1288251/download (last
 2
     visited Sep. 17, 2020).
 3
           Consistent with those policies, the parties stipulate that this case shall
 4
     remain stayed through December 31, 2020. The Court has not yet set a trial
 5
 6   date or any other deadlines that would need to be reset as a result of such a

 7   stay. During the stay, the parties anticipate ongoing settlement discussions.
 8
     If the parties reach a settlement, they will jointly move to lift the stay to allow
 9
     entry of an appropriate order under the terms of the settlement agreement.
10
           DATED this 18th day of September 2020.
11
12                                              Respectfully submitted,

13   s/ Latife H. Neu                           BRIAN T. MORAN
     LATIFE H. NEU, WSBA #33144                 United States Attorney
14
     1825 NW 65th Street
15   Seattle, Washington 98117                  s/ Kyle A. Forsyth
     Phone: 206-297-6349                        KYLE A. FORSYTH, WSBA #34609
16   latife@neulegal.com                        Assistant United States Attorney
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                                                700 Stewart Street, Suite 5220
18                                              Seattle, Washington 98101-1271
                                                Phone: (206) 553-7970
19                                              Fax: (206) 553-4067
                                                E-mail: Kyle.Forsyth@usdoj.gov
20
21
     IT IS SO ORDERED.
22
           Dated this 21st day of September, 2020.
23
24
25                                          Hon. Robert S. Lasnik
                                            United States District Court
26
27
28


                                                                    UNITED STATES ATTORNEY’S OFFICE
     STIPULATED MOTION AND [PROPOSED] ORDER TO EXTEND STAY - 2       700 STEWART STREET, SUITE 5220
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